873 F.2d 1387
    STATE OF OKLAHOMA, ex rel. OKLAHOMA TAX COMMISSION, TaxCommission, Plaintiff-Appellant,v.Jan GRAHAM, and Chickasaw Nation By and Through OvertonJames, Governor of the Chickasaw Nation,Defendants-Appellees.
    No. 86-1655.
    United States Court of Appeals,Tenth Circuit.
    May 11, 1989.
    
      Before SEYMOUR, MOORE and TACHA, Circuit Judges.
      ORDER
      The court's opinion affirming the judgment of the United States District Court for the Eastern District of Oklahoma was filed in the captioned case on May 18, 1988, 846 F.2d 1258.  On March 29, 1989, the Supreme Court of the United States reversed this court's judgment, with costs, and remanded the cause for further proceeding in conformity with the Supreme Court's opinion, --- U.S. ----, 109 S.Ct. 1519, 103 L.Ed.2d 924.
      In consideration whereof, the court orders as follows:
      1.   The mandate issued June 9, 1988, to United States District Court for the Eastern District of Oklahoma is recalled and the court's judgment of May 18, 1988 is vacated.
    
    
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      2. The judgment of the United States District Court for Eastern District of Oklahoma is vacated and the district court is directed to return this case to the State District Court in Murray County, Oklahoma.
    
    
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      3. Further the Oklahoma Tax Commission shall recover from Jan Graham, et al $669.85 as costs expended before the Supreme Court of the United States as ordered by that Court.
    
    
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      4. The clerk shall transmit a certified copy of this order to the United States District Court for the Eastern District of Oklahoma as and for the mandate.
    
    